Case 2:02-cr-20427-.]DB Document 86 Filed 06/13/05 Page 1 of 2 Page|D 96

 

  

UNITED sTATEs DISTRICT COURT Fu_E-D g %,“_r D`C_
for
WESTERN DISTRICT OF TENNESSEE 05 JUH 13 PH 3: 33
U.S.A. vs. Walter Bush Docket No. 2:02C »7 - lt;:§ zanth
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W.D. OF 'l'l\lt l‘.fi§ld'lf:'l"ll$

Petition on Probation and Supervised Release

COMES NOW Chrisg J. Henson PROBA'I`I()N OFFICER OF THE COURT presenting an
official report upon the conduct and attitude of Walter Bush who was placed on supervision by the
Honorable J. Daniel Breen sitting in the court at Memphis, TN , on the 22nd day of Decernber ;(_]Q§, who
fixed the period of supervision at two §2) years*, and imposed the general terms and conditions theretofore
adopted by the Court and also imposed Special Conditions and terms as follows:

 

 

 

l. The defendant shall participate in a substance abuse program as directed by the Probation Office.

2. The defendant shall be prohibited from incurring new credit charges or opening additional lines of
credit without the approval of the Probation Office.

3. The defendant shall provide the Probation Offlce access to any requested financial information

4. The defendant shall notify the Court and the U.S. Attorney of any material change in economic
circumstances that might affect the defendant’s ability to pay restitution

5. The defendant Shall pay restitution in the amount of $4,800.00 in regular monthly installments in the

amount of 10% of gross income.
* '1` erm of Supervised Release began on December 22, 2003.
RESPECTFULLY PRESENTING PETITION FOR ACTION OF C()URT FOR CAUSE AS FOLLOWS:

Walter Bush fits the criteria for early termination recommended by the Judicial Conference Committee on
Criminal Law. He has made progressive stn'des towards achieving supervision objectives and appears to pose
no risk to public safety. Mr. Bush has made payments totaling $ 1,430 towards his Court ordered obligation
leaving an outstanding balance of $ 3,370. On April 15, 2005, Mr. Bush executed an Authorization for
Automatie Payroll Deduction Form With the U.S. Attorney Financial Litigation Unit and agreed to have
$65.00 deducted bi-weekly from his pay check, The U.S. Attorney Financial litigation Unit began receiving
payments on May 13, 2005.

PRAYING THAT THE COURT WILL ORDER that Walter Bush be allowed to end his term of

supervision early with the understanding that the U. S. Attorney’s Offlce Will be responsible for the continued
collection of restitution

oRDER 0F COURT R s ecrru ly, ,/ J
Considered and ordered this IJ$\ day 5 %/QH,JD
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nited S e robation Officer

dl 20 05 ,and nrdcer nled and
%Mfthe re ds in the above case.
R/%J~\ Place:

, Mem his TN
Un` ed tates District Judge \

    

Date: June 9. 2005

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 86 in
case 2:02-CR-20427 was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

Tracy Lynn Berry

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Honorable .l. Breen
US DISTRICT COURT

